         Case 6:19-cv-01798-IM        Document 19     Filed 11/09/20    Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON




ALEX D. QUIGLEY,
                                                  Case No.6: 19-cv-0 1798-IM
               Plaintiff,

       vs.                                         JUDGMENT

COMMISSIONER,
Social Security Administration,

               Defendant.




       Pursuant to the Order for Remand (ECF No. 17) entered on October 22, 2020, this case is

reversed and remanded for further administrative proceedings. Judgment is entered for Plaintiff

and this case is closed.

                   9th
       DATED this _ _ _ day of November 2020.




                                           KAREN J. IMMERGUT
                                           United States District Court Judge




Proposed Order submitted by:
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